                    IN THE COURT OF APPEALS OF NORTH CAROLINA

                                       2022-NCCOA-57

                                        No. COA20-895

                                    Filed 1 February 2022

     Industrial Commission, No. 18-001070

     DARRYL RIMMER, Employee, Plaintiff,

                   v.

     TOWN OF CHAPEL HILL, Employer, NORTH CAROLINA INTERLOCAL RISK
     MANAGEMENT AGENCY (NCIRMA), Administered by THE NORTH CAROLINA
     LEAGUE OF MUNICIPALITIES, Carrier; Defendants.


             Appeal by Plaintiff from opinion and award entered 10 September 2020 by the

     North Carolina Industrial Commission. Heard in the Court of Appeals 19 October

     2021.


             Patterson Harkavy LLP, by Christopher A. Brook, Henry N. Patterson, and
             Paul E. Smith, for Plaintiff-Appellant.

             Teague Campbell Dennis &amp; Gorham, LLP, by Dayle A. Flammia and Lindsay
             A. Underwood, for Defendants-Appellees.

             Edelstein and Payne, by M. Travis Payne, for amicus curiae Professional Fire
             Fighters and Paramedics of North Carolina.

             The McGuinness Law Firm, by J. Michael McGuinness, for amici curiae North
             Carolina Police Benevolent Association and Southern States Police Benevolent
             Association.


             COLLINS, Judge.


¶1           Plaintiff Darryl Rimmer appeals from an Opinion and Award of the Industrial
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     Commission denying his claim for workers’ compensation benefits for his post-

     traumatic stress disorder (“PTSD”). Plaintiff argues that the Commission erred by

     concluding that his claim was barred by his failure to timely give notice of his PTSD

     to his employer and to timely file his claim.                We reverse and remand for a

     determination of the merits of Plaintiff’s claim.

                                      I.      Background

¶2         Plaintiff joined the Chapel Hill Fire Department (“CHFD”) as a firefighter on

     20 June 1995. Plaintiff first worked “as a member of a crew of three to five people”

     with “general fire fighting duties” and then as a “driver/operator.” In 2000, Plaintiff

     was promoted to the rank of captain and became responsible for overseeing “a crew,

     a truck, and a station.”

¶3         On 9 December 2002, Plaintiff was struck by falling debris while fighting a

     house fire and briefly lost consciousness. Following this incident, Plaintiff filed a

     workers’ compensation claim for injuries to his cervical spine and left shoulder. The

     claim was accepted as compensable.             Plaintiff was entirely out of work from

     10 December 2002 through 31 March 2003, and then worked on light duty through

     17 July 2003. Plaintiff returned to full duty with no restrictions on 18 July 2003.

¶4         In either late 2003 or early 2004, Dr. Brian Benjamin, Plaintiff’s family doctor,

     referred Plaintiff for a neurocognitive evaluation due to “a one-year history of

     cognitive and behavioral changes following” the December 2002 incident.
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     Neuropsychologist Dr. Kristine Herfkens evaluated Plaintiff on 6 January 2004. In

     her report, Dr. Herfkens noted that Plaintiff “complained of poor concentration and

     memory, difficulty learning new information, and a ‘spacey feeling.’ He particularly

     struggles with sustaining his attention on longer, slower tasks.” Dr. Herfkens also

     noted that,

                   In the past, [Plaintiff] has had problems with work related
                   depression and PTSD. He sought treatment, and improved
                   considerably. He has been told that his cognitive problems
                   may be related to mild depression, but he does not feel like
                   he did in the past when he was depressed and anxious.

     Dr. Herfkens recorded that Plaintiff “reported a history of depression and PTSD

     related to events in his work as a firefighter.”

¶5          Dr. Herfkens concluded that it was “possible that [Plaintiff] has mild residual

     depressive and PTSD symptoms as a result of” the December 2002 incident. Her

     “diagnostic impressions” included “Post concussion syndrome, mild”; “Depression

     NOS”; and “Anxiety NOS.”1            After a follow-up appointment with Plaintiff on



            1 “NOS,” though not defined in the record, appears to be an abbreviation for “Not

     Otherwise Specified.” American Psychiatric Association, Diagnostic and Statistical Manual
     of Mental Disorders at 4 (4th ed. 2000). “NOS” was a category of diagnosis applicable where
     (1) “[t]he presentation conforms to the general guidelines for a mental disorder in the
     diagnostic class, but the symptomatic picture does not meet the criteria for any of the specific
     disorders”; (2) “[t]he presentation conforms to a symptom pattern that has not been included
     in the DSM-IV Classification but that causes clinically significant distress or impairment”;
     (3) “[t]here is uncertainty about etiology”; or (4) “[t]here is insufficient opportunity for
     complete data collection . . . or inconsistent or contradictory information, but there is enough
     information to place it within a particular diagnostic class.” Id.
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     20 January 2004, Dr. Herfkens noted that Plaintiff “continues to be bothered by

     forgetfulness + fatigue.”

¶6         In notes dated 5 February 2004, Dr. Benjamin listed Plaintiff’s “Problem #1”

     as “Closed head injury.” Dr. Benjamin wrote:

                  S: Mr. Rimmer still continues to suffer from the sequelae
                  of the injuries he suffered on 12/9/02 . . . . He did lose
                  consciousness, and suffered significant problems. Many of
                  the physical problems have improved; however, he still is
                  experiencing a post concussive syndrome with reduction in
                  his cognitive function, and resultant post traumatic stress
                  disorder symptoms of depression and anxiety. This was
                  confirmed by neuropsychological testing done by Dr.
                  H[e]rfkens. Please refer to her report, dated 1/6/04.
                  ....

                  A: Post concussive syndrome with resultant post traumatic
                  stress disorder, anxiety disorder, and depression.

                  P: He will continue to work with his environment, and
                  enacting Dr. H[e]rfkens recommendations. We are going
                  to start him on Effexor XR . . . and I will see him back in
                  2-3 weeks.

     When asked if he recalled that “it was [Dr. Benjamin’s] assessment that [he was]

     suffering from Post-Concussive Syndrome, with resultant Post-Traumatic Stress

     Disorder, anxiety disorder, and depression,” Plaintiff responded, “If that’s in the

     notes – again, 2004 is a long time ago for me to remember, but I would say yes.”

¶7         In notes dated 4 March 2004, Dr. Benjamin listed Plaintiff’s “Problem #1” as

     “Depression, anxiety, and closed head injury.” Dr. Benjamin noted that Plaintiff was
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     experiencing “[m]ild anxiety and depression” but was “doing well,” “sleeping some

     better at nighttime,” and had an improved mood.

¶8         Plaintiff served as a captain with the CHFD until 2012, when he requested

     assignment as an assistant fire marshal. In this role, Plaintiff was required to

     conduct “fire inspections and investigations” and “report to active fires and other

     significant incidents like multiple vehicle car accidents or hazardous materials

     incidents.”   Plaintiff’s duties at an active scene included “patrolling the scene,

     listening for radio traffic, and monitoring the structure for signs of fire extension,

     structural failure, or other hazards.”

¶9         In the spring of 2017, following a call involving two dogs burning in a fire,

     Plaintiff started vomiting “on almost a daily basis” when he arrived at work, opened

     the door of his vehicle, and smelled his gear. Plaintiff began suffering anxiety and

     panic attacks, particularly upon going into the town of Chapel Hill. Plaintiff also

     began experiencing intrusive thoughts of “victims of fires and accidents he had

     responded to over his years of service” and “nightmares which severely disrupted his

     sleep, limiting him to one to two hours of sleep per night.” Plaintiff’s intrusive

     thoughts and nightmares concerned calls spanning his career with the CHFD,

     including: Plaintiff’s participation in “salvage and overhaul operations” and the

     removal of victims’ bodies following a 1996 fire at the Phi Gamma Delta fraternity,

     response to a 1997 mobile home fire where Plaintiff found a father who had attempted
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       to shield his son, discovery of the body of a college student who died by suicide in

       1998, response to a victim who had fallen down an elevator shaft in either 1998 or

       1999, involvement in resuscitation efforts for an accident victim while the victim’s

       spouse “beat on [Plaintiff’s] chest and called [Plaintiff] an animal” sometime between

       2006 and 2008, discovery of an elderly decedent who had been severely neglected in

       approximately 2008, and participation in victim recovery efforts after a 2009

       explosion at the Garner ConAgra plant.

¶ 10         On 9 October 2017, “[a]fter approximately six months of emotional symptoms,”

       Plaintiff explained his difficulties to two of his superiors, Chief Matthew Sullivan and

       Fire Marshal Thomas Gregory. Sullivan and Gregory referred him to the Employee

       Assistance Program.

¶ 11         Plaintiff saw licensed professional counselor Mary Livingston Azoy through

       the Employee Assistance Program on 11 October 2017. Azoy wrote in her notes for

       this visit that Plaintiff had “developed severe PTSD as a result of cumulative trauma

       on the job,” with “[s]ymptoms worsening over last 6 months.” The notes, which

       spanned three visits and which Azoy did not sign until 2 March 2018, list Plaintiff’s

       diagnosis as PTSD. Azoy told Plaintiff at his first appointment that he “needed to

       seek the help of a psychiatrist[.]”

¶ 12         Plaintiff saw Dr. Hansen Su, a psychiatrist, for an evaluation on 30 October

       2017. In notes from this visit, Dr. Su wrote that Plaintiff had a “reported hx of PTSD,
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       related to his line of work as a firefighter.” Dr. Su noted that Plaintiff “[r]eports long

       hx of symptoms which have worsened in the past several months. More nightmares,

       flashbacks, distortions of perception, hyperarousal, memory loss, poor concentration.”

       Dr. Su’s notes also indicate “[n]o history of psychiatric issues.” Dr. Su testified that

       this information came from Plaintiff’s own self-reporting.        Dr. Su’s notes reflect

       diagnoses of “Post-traumatic stress disorder, unspecified”; “Other depressive

       episodes”; and “Major depressive disorder, single episode, unspecified[.]” Plaintiff

       continued to see Dr. Su regularly.

¶ 13         Plaintiff began treatment with Gregory Allen, a licensed clinical social worker,

       on 7 November 2017. Allen’s notes from this visit list a diagnosis of “[p]ost-traumatic

       stress disorder, unspecified.” Allen wrote that Plaintiff “has been suffering with

       PTSD symptoms for several years now. About six months ago they became very bad

       again. . . . [Plaintiff] states he has been experiencing the problem(s) for 6 months.”

       Allen also wrote that Plaintiff had “PTSD: Diagnosed at age 35. Received Outpatient

       Treatment at age 35.” Allen indicated that Plaintiff has “a history of being treated

       for PTSD symptoms since 2002.” Allen explained these entries during his deposition:

                    Q. And were you aware that as early as 2002, after a work
                    comp injury, and from 2002 to 2004, during that time
                    period, [Plaintiff] was diagnosed with depression and
                    PTSD?

                    A. Yeah.
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                     Q. How did you know that?

                     A. He talked about it.

                     ....

                     Q. But you are aware that he was diagnosed with PTSD as
                     early as early 2000s, weren’t you?

                     A. Yeah. I would imagine that -- what he was going
                     through, yeah.

       Plaintiff continued to see Allen regularly for outpatient therapy.

¶ 14          On 18 December 2017, Plaintiff requested his diagnosis and prognosis during

       an appointment with Dr. Su. On 22 December 2017, Plaintiff emailed Chief Sullivan

       and Human Resources Director Clifton Turner to inform them of his request from Dr.

       Su. In the email, Plaintiff wrote that Dr. Su had advised him that his “diagnosis was

       PTSD and [his] prognosis was very poor as to whether [he] would return to duty.”

       Plaintiff further wrote that Dr. Su “advised this illness is due to [his] career in the

       fire service and is related to [his] job.”

¶ 15          On 2 January 2018, Plaintiff filed a claim seeking workers’ compensation

       benefits for “[p]sychological disability diagnosed as Post-Traumatic Stress Disorder”

       caused by “traumatic exposures in [his] job as a firefighter” with the CHFD. After

       Defendants denied the claim, Plaintiff sought a hearing before the Industrial

       Commission.

¶ 16          Prior to the hearing, Defendants referred Plaintiff to Dr. Moira Artigues, a
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       general and forensic psychiatrist, who conducted an interview and examination with

       Plaintiff on 5 September 2018. Dr. Artigues gave her opinion that, to a reasonable

       degree of medical certainty, Plaintiff’s symptoms met the criteria for PTSD in the

       Diagnostic and Statistical Manual of Mental Disorders, Fifth Edition. Dr. Artigues

       noted that Plaintiff “said that he saw a psychiatrist or a psychologist for one to two

       appointments” after the 1996 fraternity fire and “recalled having nightmares at that

       time.” Dr. Artigues further noted that Plaintiff “said he eventually got over his

       symptoms through talking with coworkers” and “[b]etween 1996 and 2016, [Plaintiff]

       said he did not have much in the way of symptoms except for minor increases in his

       anxiety.” Dr. Artigues reviewed Plaintiff’s primary care records dating back to 2014

       and found that “[o]f note, there was no documentation of any psychiatric symptoms[.]”

       Upon reviewing Dr. Herfkens’ report, Dr. Artigues surmised that Plaintiff may have

       self-reported suffering from PTSD; Dr. Artigues could not determine “if a doctor

       actually diagnosed him with PTSD or if he [was] self-diagnosed[.]”

¶ 17         The Deputy Commissioner held a hearing and entered an Opinion and Award

       on 5 June 2019. The Deputy Commissioner found, contrary to Defendants’ assertion,

       that Plaintiff was not advised by a competent medical authority that he had PTSD in

       2004. Accordingly, the Deputy Commissioner concluded that Plaintiff’s claim was not

       barred by failure to timely give notice of his PTSD to Defendants, as required by N.C.

       Gen. Stat. § 97-22, or by failure to timely file his claim, as required by N.C. Gen. Stat.
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       § 97-58(c). In the alternative, the Deputy Commissioner found that Plaintiff had

       shown a reasonable excuse for not having given written notice in 2004 and

       Defendants had not shown that they were prejudiced by any failure of notice. The

       Deputy Commissioner concluded that Plaintiff’s PTSD was a compensable

       occupational disease resulting from Plaintiff’s exposure to cumulative trauma in his

       job with the CHFD and awarded Plaintiff temporary total disability compensation,

       payment for treatment and counseling, and costs of the action.

¶ 18         Defendants appealed to the full Commission, which held a hearing and entered

       an Opinion and Award on 10 September 2020. The Commission concluded that

       Plaintiff failed to timely give notice of his PTSD to Defendants and failed to timely

       file his claim. The Commission also concluded that Plaintiff did not establish a

       reasonable excuse for the failure to timely notify Defendants, and Defendants were

       prejudiced by the late notice. The Commission denied Plaintiff’s claim. Plaintiff

       appealed to this Court.

                                       II.     Discussion

¶ 19         Plaintiff argues that the Commission’s opinion and award denying his claim

       must be reversed because he timely gave Defendants notice of his PTSD diagnosis in

       2017 and timely filed his claim for compensation.

¶ 20         This Court’s review of an opinion and award of the Industrial Commission is

       generally “limited to consideration of whether competent evidence supports the
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Commission’s findings of fact and whether the findings support the Commission’s

conclusions of law.” Richardson v. Maxim Healthcare/Allegis Grp., 362 N.C. 657,

660, 669 S.E.2d 582, 584 (2008) (citations omitted).        Where the Commission’s

“findings of fact are not challenged and do not concern jurisdiction, they are binding

on appeal.” Medlin v. Weaver Cooke Const., LLC, 367 N.C. 414, 423, 760 S.E.2d 732,

738 (2014) (citing N.C. Gen. Stat. § 97-86). Jurisdictional findings of fact, however,

are “not conclusive on appeal, even if supported by competent evidence.” Perkins v.

Arkansas Trucking Servs., 351 N.C. 634, 637, 528 S.E.2d 902, 903-04 (2000) (citations

omitted). Instead, “‘[t]he reviewing court has the right, and the duty, to make its own

independent findings of such jurisdictional facts from its consideration of all the

evidence in the record.’” Id. (quoting Lucas v. Li’l Gen. Stores, 289 N.C. 212, 218, 221

S.E.2d 257, 261 (1976)).

             In performing our task to review the record de novo and
             make jurisdictional findings independent of those made by
             the Commission, we are necessarily charged with the duty
             to assess the credibility of the witnesses and the weight to
             be given to their testimony, using the same tests as would
             be employed by any fact-finder in a judicial or quasi-
             judicial proceeding.

Morales-Rodriguez v. Carolina Quality Exteriors, Inc., 205 N.C. App. 712, 715, 698

S.E.2d 91, 94 (2010). “This Court makes determinations concerning jurisdictional

facts based on the greater weight of the evidence.” Capps v. Se. Cable, 214 N.C. App.

225, 227, 715 S.E.2d 227, 229 (2011) (citation omitted). We review the Commission’s
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       conclusions of law de novo. Medlin, 367 N.C. at 423, 760 S.E.2d at 738.

¶ 21         An employee’s PTSD may be compensable as an occupational disease under

       the Workers’ Compensation Act if it is “proven to be due to causes and conditions

       which are characteristic of and peculiar to a particular trade, occupation or

       employment” and is not an “ordinary disease[] of life to which the general public is

       equally exposed outside of the employment.” N.C. Gen. Stat. § 97-53(13) (2020); see

       also Smith-Price v. Charter Pines Behav. Ctr., 160 N.C. App. 161, 171, 584 S.E.2d

       881, 888 (2003) (holding the employee’s PTSD fell within the statutory definition of

       occupational disease). Generally, no compensation for an occupational disease “shall

       be payable unless” the employee gives written notice to the employer within 30 days

       or “reasonable excuse is made to the satisfaction of the Industrial Commission for not

       giving such notice and the Commission is satisfied that the employer has not been

       prejudiced thereby.” See N.C. Gen. Stat. § 97-22 (2017) (requiring injured employees

       to give notice of accident); id. § 97-58(b) (2017) (providing that the notice requirement

       in section 97-22 is applicable “in all cases of occupational disease except in case[s] of

       asbestosis, silicosis, or lead poisoning”). The 30-day period in which an employee

       must give notice of an occupational disease runs “from the date that the employee

       has been advised by competent medical authority that he has the same.”                Id.

       § 97-58(b).

¶ 22         An employee seeking compensation for an occupational disease must also file
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       a claim “with the Industrial Commission within two years after death, disability, or

       disablement as the case may be.” Id. § 97-58(c) (2017). Our Supreme Court has

       construed section 97-58 to provide that this two-year period

                    begins running when an employee has suffered injury from
                    an occupational disease which renders the employee
                    incapable of earning the wages the employee was receiving
                    at the time of the incapacity by such injury, and the
                    employee is informed by competent medical authority of
                    the nature and work related cause of the disease. The two
                    year period for filing claims for an occupational disease
                    does not begin to run until all of these factors exist.

       Dowdy v. Fieldcrest Mills, Inc., 308 N.C. 701, 706, 304 S.E.2d 215, 218-19 (1983). “An

       employee must be informed clearly, simply and directly that he has an occupational

       disease and that the illness is work-related” to trigger the two-year period. Lawson

       v. Cone Mills Corp., 68 N.C. App. 402, 410, 315 S.E.2d 103, 107 (1984) (citations

       omitted).

¶ 23         Because the two-year period for filing claims under section 97-58(c) “is a

       condition precedent with which a claimant must comply in order to confer jurisdiction

       on the Industrial Commission,” whether a plaintiff timely filed a claim is a

       “jurisdictional finding[] of fact fully reviewable by this Court.” Dowdy, 308 N.C. at

       704-05, 304 S.E.2d at 218; see also Rainey v. City of Charlotte, 247 N.C. App. 594, 595,

       785 S.E.2d 766, 768 (2016) (holding that the timely filing of an occupational disease

       claim under section 97-58(c) is “an issue of jurisdiction for the commission”);
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       Reinhardt v. Women’s Pavilion, Inc., 102 N.C. App. 83, 86, 401 S.E.2d 138, 140 (1991)

       (“[T]he timely filing of a claim for compensation is a condition precedent to the right

       to receive compensation and failure to file timely is a jurisdictional bar for the

       Industrial Commission.”).

¶ 24         We first determine when plaintiff was informed by competent medical

       authority of the nature and work-related cause of his PTSD. See Dowdy, 308 N.C. at

       710, 304 S.E.2d at 221; Rainey, 247 N.C. App. at 597, 785 S.E.2d at 768. Plaintiff

       first saw Azoy through the Employee Assistance Program on 11 October 2017; Azoy

       directed Plaintiff to seek treatment with a psychiatrist. Though Azoy’s notes reflect

       a diagnosis of PTSD, those notes were not signed until 2 March 2018, and there is no

       indication that Azoy communicated a diagnosis to Plaintiff.

¶ 25         Plaintiff began treatment with Dr. Su on 30 October 2017 and then with Allen

       on 7 November 2017. Plaintiff sought his diagnosis and prognosis from Dr. Su on 18

       December 2017 and four days later emailed Sullivan and Turner that Dr. Su’s

       “diagnosis was PTSD,” Plaintiff’s “prognosis was very poor as to whether [he] would

       return to duty,” and Plaintiff’s illness was “due to [his] career in the fire service and

       is related to [his] job.” The greater weight of the evidence shows that Plaintiff was

       not clearly, simply, and directly informed of the nature and work-related cause of his

       present PTSD by competent medical authority until 18 December 2017.
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¶ 26         Defendants argue that Plaintiff was informed by competent medical authority

       of the nature and work-related cause of his PTSD in or before 2004. This argument

       is without merit.

¶ 27         Defendants rely in significant part on the four records from Dr. Herfkens and

       Dr. Benjamin. Defendants contend that when Plaintiff “saw Dr. Herfkens in 2004”

       he “had a noted history of depression and PTSD, which [Dr. Herfkens] stated were

       diagnosed as a result of [Plaintiff’s] employment.” Defendants overstate the contents

       of Dr. Herfkens’ report and notes. In her 6 January 2004 report, Dr. Herfkens wrote

       only that it was “possible that [Plaintiff] has mild residual depressive and PTSD

       symptoms as a result of” the December 2002 incident. Dr. Herfkens’ “diagnostic

       impressions” did not include PTSD and her notes from Plaintiff’s 20 January 2004

       follow-up appointment did not mention PTSD. While Dr. Herfkens indicated that

       Plaintiff had “reported a history of depression and PTSD related to events in his work

       as a firefighter,” she neither wrote nor testified that she or another medical provider

       had diagnosed Plaintiff with PTSD.

¶ 28         Defendants’ own expert, Dr. Artigues, opined that Dr. Herfkens’ records may

       have reflected Plaintiff’s self-report of suffering from PTSD symptoms. Dr. Artigues

       testified that based on these records, she could not determine “if a doctor actually

       diagnosed him with PTSD or if he self-diagnosed[.]”         Plaintiff’s own testimony

       suggests that he may have self-reported in the past; he explained that when he first
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       “open[ed] up” about his condition in 2017, he was self-reporting based on his

       understanding of PTSD, and he had used the term PTSD “for lack of better words.”

       Evidence indicating Plaintiff self-reported that he had PTSD symptoms or PTSD falls

       short of showing that Plaintiff was advised by competent medical authority that he

       had work-related PTSD. See Terrell v. Terminix Servs., 142 N.C. App. 305, 308, 542

       S.E.2d 332, 335 (2001) (the Workers’ Compensation Act “does not require an employee

       to diagnose himself or file a claim based on his own suspicions”).

¶ 29         Defendants also state that Dr. Benjamin “specifically diagnosed post-

       concussive syndrome with resultant PTSD, anxiety disorder, and depression in

       February 2004.” Dr. Benjamin’s 5 February 2004 notes include one line which states,

       “A: Post concussive syndrome with resultant post traumatic stress disorder, anxiety

       disorder, and depression.”   However, Dr. Benjamin expressly noted that he had

       referred to and relied on the report in which Dr. Herfkens found only that it was

       “possible” that Plaintiff had residual depressive and PTSD “symptoms” as a result of

       the December 2002 incident. Additionally, the lack of reference to PTSD in Dr.

       Benjamin’s notes from a follow-up visit with Plaintiff just weeks later indicates that

       Dr. Benjamin had not in fact diagnosed Plaintiff with PTSD.

¶ 30         Dr. Benjamin’s 5 February 2004 notes otherwise state that Plaintiff suffered a

       “post concussive syndrome” with “symptoms” of PTSD. This too is insufficient to show

       that Plaintiff was advised by competent medical authority that he had work-related
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       PTSD in 2004. Instead, the evidence suggests that Plaintiff may have been informed

       that he was experiencing symptoms of PTSD in 2004 without a formal diagnosis of

       work-related PTSD. Dr. Artigues testified that “most of the time . . . people have

       some symptoms along the way, and then PTSD declares itself.” Dr. Artigues further

       explained that a person may initially have “subclinical PTSD” which presents “some

       symptoms of PTSD” but does not meet all the criteria for diagnosis.

¶ 31         Defendants also argue that Allen’s records and testimony demonstrate that

       Plaintiff was informed by competent medical authority of the nature and work-

       related cause of his PTSD in or before 2004. Allen’s notes from his assessment of

       Plaintiff state, “PTSD: Diagnosed at age 35. Received Outpatient Treatment at age

       35” under the heading “Psych &amp; SA Dx – Past and Present.” But when asked to

       confirm that he was “aware that [Plaintiff] was diagnosed with PTSD as early as

       early 2000s,” Allen responded only, “Yeah. I would imagine that -- what he was going

       through[.]” Allen’s equivocal deposition testimony undercuts the assertion in his

       notes that Plaintiff was diagnosed with PTSD at age 35. Moreover, Allen did not

       identify any particular individual as a “competent medical authority” responsible for

       the purported early 2000s diagnosis of PTSD, or reveal the extent of information, if

       any, that Plaintiff was given concerning such a diagnosis. This evidence therefore

       fails to establish that by 2004, competent medical authority informed Plaintiff of the
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       nature and work-related cause of the trauma-related PTSD that he is now

       experiencing.

¶ 32         Defendants contend that “all of the traumatic events which [Plaintiff] points

       to, which he indicates caused his conditions and symptoms, took place well before

       [Plaintiff] moved to the administrative position of fire marshal” in 2012, “with the

       most recent cited event taking place in 2009[.]” Yet the record demonstrates that

       even after these dates, Plaintiff was still required to respond to “active fires and other

       significant incidents” and experienced further trauma which contributed to his

       condition. In particular, Plaintiff identified the spring of 2017 fire which killed two

       dogs as precipitating some of his symptoms:

                    [I]t was the smell that I remember. It’s burnt hair, burnt
                    flesh. I was proud that day because I sat and watched our
                    Fire Fighters bury those – that family’s animals in their
                    yard. . . . But that smell, it stayed . . . . And it was shortly
                    after that that I opened my car door one day and the smell
                    hit me and I vomited in the woods behind my car.

       More fundamentally, the date of Plaintiff’s last exposure to traumatic events is

       immaterial. The inquiry under sections 97-22 and 97-58(c) is not the date of the

       employee’s last exposure to a harmful stimulus, but the date of death, disability, or

       disablement and the date the employee was informed of the nature of his disease and

       its work-related cause by competent medical authority. Dowdy, 308 N.C. at 706, 304

       S.E.2d at 218-19.
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¶ 33            Even assuming for the sake of argument that Plaintiff was diagnosed with

       PTSD in or before 2004, sections 97-22 and 97-58(c) would not operate to bar his

       claim.    The record demonstrates that the PTSD for which Plaintiff now seeks

       compensation is distinct in cause, more severe in nature, and remote in time from

       any PTSD he may have suffered in or before 2004. As Plaintiff argues, the medical

       consensus is that his cumulative exposure to trauma throughout his employment

       with the CHFD was a significant contributing factor to his current PTSD.             By

       contrast, Plaintiff’s medical records indicate that many of the symptoms he was

       experiencing in the early 2000s were secondary to, and attributable to, his 2002

       injury.

¶ 34            Additionally, the symptoms Plaintiff began suffering in 2017 differ from his

       previous symptoms in their nature and severity. Plaintiff testified that he began

       experiencing some of the more debilitating symptoms in the spring of 2017 and had

       “never been at the point I’m at right now.” Plaintiff explained that he had been able

       to work through some of the traumatic situations he had faced in the past and did not

       recall missing work due to depression or other psychological conditions, prior to

       October 2017. Plaintiff also indicated that the severity of his sleep issues was new.

       Plaintiff’s wife testified that “she had been married to Plaintiff for thirty-one years,

       and had not seen him exhibit his current symptoms before 2017.”
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                                            2022-NCCOA-57

                                           Opinion of the Court



¶ 35         Lastly, the evidence shows that more than a decade passed between Plaintiff’s

       symptoms in 2002 to 2004 and his current symptoms.               On 4 March 2004, Dr.

       Benjamin noted that Plaintiff was “doing much better” and had “noticed a difference

       as ha[d] his wife and co-workers.” As the Commission found, Plaintiff did not miss

       any more work due to any alleged work-related condition between his July 2003

       return to full duty and October 2017, and there is no “evidence that Plaintiff received

       any treatment for any neurocognitive or emotional symptoms between March 2004

       and October 2017.” Daniel Jones, chief of the CHFD from the time Plaintiff was hired

       until 2015, “was not aware of any time Plaintiff had to miss work due to emotional or

       psychological symptoms[.]”

¶ 36         The greater weight of the evidence shows that Plaintiff was not clearly, simply,

       and directly informed of the nature and work-related cause of his present PTSD until

       18 December 2017.2      Because Plaintiff filed his claim on 2 January 2018, the




             2  Because Plaintiff was not advised by competent medical authority of the nature and
       work-related cause of his PTSD until December 2017, the two-year filing period could not
       begin to run until that time. See Dowdy, 308 N.C. at 706, 304 S.E.2d at 218-19 (“The two
       year period for filing claims for an occupational disease does not begin to run until” the
       employee is disabled by an occupational disease and is informed by competent medical
       authority of the nature and work related cause of the disease). Accordingly, we need not
       determine precisely when Plaintiff became disabled by his condition. Cf. Rutledge v. Stroh
       Companies, 105 N.C. App. 307, 311, 412 S.E.2d 901, 904 (1992) (finding it unnecessary to
       address the “date on which plaintiff was informed by competent medical authority of the
       nature and work-related cause of his disease” because plaintiff filed his claim within two
       years of becoming disabled); Underwood v. Cone Mills Corp., 78 N.C. App. 155, 158, 336
       S.E.2d 634, 637 (1985) (same).
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                                              2022-NCCOA-57

                                          Opinion of the Court



       Commission erred by concluding that Plaintiff failed to timely file his claim within

       the two-year period provided by section 97-58(c). Additionally, because Plaintiff gave

       notice of his diagnosis and prognosis to Sullivan and Turner on 22 December 2017,

       the Commission erred by concluding that Plaintiff failed to comply with the 30-day

       notice requirement in section 97-22. We reverse the Commission’s opinion denying

       Plaintiff’s claim and remand for a determination of the merits of Plaintiff’s claim. See

       Rutledge, 105 N.C. App. at 311, 412 S.E.2d at 904 (reversing the Commission’s

       determination of lack of jurisdiction due to noncompliance with section 97-58(c) and

       remanding to the Commission for consideration of plaintiff’s claim).

                                       III.     Conclusion

¶ 37         The greater weight of the evidence demonstrates that Plaintiff was not

       informed of the nature and work-related cause of his current PTSD by competent

       medical authority until 18 December 2017. Because Plaintiff notified his employer

       of his condition on 22 December 2017 and filed his claim on 2 January 2018, the

       Commission erred by concluding that his claim was barred by sections 97-22 and

       97-58(c). We reverse the Commission’s opinion and award denying Plaintiff’s claim

       and remand for a determination of the merits of Plaintiff’s claim.

             REVERSED AND REMANDED.

             Judges ZACHARY and ARROWOOD concur.
